Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 1 of 6
Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 2 of 6
Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 3 of 6
Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 4 of 6
Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 5 of 6
Case 20-00662-jw   Doc 51   Filed 04/15/20 Entered 04/15/20 12:29:51   Desc Main
                            Document      Page 6 of 6
